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                           EXHIBIT A
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                                                         IN THE COUNTY COURT OF THE 11TH
                                                         JUDICIAL CIRCUIT IN AND FOR
                                                         MIAMI-DADE COUNTY, FLORIDA


             Sergio Salani,                              CASE NO.: 2022-047421-SP-25

                   Plaintiff,                            BAR NO.: 121673

             v.

             AT&T Mobility, LLC,

         \        Defendant.
             _______________________________/

                                SECOND AMENDED STATEMENT OF CLAIM

                  Plaintiff, Sergio Salani, through its undersigned counsel, hereby files this Third

         Amended Statement of Claim against Defendant, AT&T, Mobility, LLC (“AT&T

         MOBILITY, LLC”), and further alleges as follows:

                                         GENERAL ALLEGATIONS

      1. This is an action against AT&T for damages for $8,000, exclusive of interest, attorney’s

         fees, and costs.

      2. Plaintiff is a customer of AT&T Mobility, LLC, a Florida consumer with cell number XXX-

         XX9-8349.

      3. Plaintiff is not in possession of the specific wireless agreement with Defendant.

      4. AT&T MOBILITY, LLC is a foreign limited liability company licensed and doing business

         in Miami-Dade County, Florida subject to the jurisdiction of this Court.

      5. Venue is proper in Miami-Dade County, Florida.

      6. Plaintiff has complied with all conditions precedent to filing this action or said conditions

         have been waived by AT&T Mobility, LLC.


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7. This claim is not preempted by any federal law or statute.

8. This action is not a class action.

9. According to court filings made by AT&T MOBILITY, LLC in federal court, it is a

   nongovernmental limited liability company that has no parent company, but its members

   are BellSouth Mobile Data, Inc.; SBC Long Distance, LLC; and SBC Tower Holdings LLC.

   Those entities (and thus AT&T MOBILITY, LLC) are all indirectly wholly owned by AT&T

   Inc., which is the only publicly held company with a 10 percent or greater ownership stake

   in them.

10. AT&T, Inc. reports its consolidated business results, and breaks out selected disclosures

   for its major operating segments. Their segments are strategic business units that offer

   different products and services over various technology platforms and/or in different

   geographies that are managed accordingly. They analyze the operating segments based

   on segment contribution, which consists of operating income, excluding acquisition-

   related costs and other significant items, and equity in net income (loss) of affiliates for

   investments managed within each operating segment.

11. There are four reportable segments of AT&T, Inc.: (1) Communications, (2) Warner

   Media, (3) Latin America and (4) Xandr. AT&T MOBILITY, LLC is a major retailer of

   smartphones and provider of wireless broadband internet access service for

   smartphones.

12. Smartphone owners use mobile data for, including but not limited to, sending and

   receiving email, using GPS navigation, watching and streaming video, and browsing the

   internet. AT&T MOBILITY, LLC is a major retailer of smartphones and provider of wireless

   broadband internet access service for smartphones (“mobile data”). Smartphone owners


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  use mobile data for, including but not limited to, sending and receiving email, using GPS

  navigation, watching and streaming video, and browsing the internet.

  13. AT&T MOBILITY, LLC’s place in AT&T Inc corporate structure can be identified as

     follows:




14. The Communications segment provides wireless and wireline telecom, video and

  broadband services to consumers located in the U.S. or in U.S. territories and businesses

  globally. Communications services and products are marketed under the AT&T, Cricket,

  AT&T PREPAID and DIRECTV brand names. The Communications segment provided

  approximately 84% of 2018 segment operating revenues and 84% of our 2018 total

  segment contribution. This segment contains the Mobility, Entertainment Group and

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   Business Wireline business units.

15. AT&T Mobility, LLC’s previous in court public admissions (filed by its corporate counsel,

   Patricia Cruz, Esq.) has admitted to anit-consumer behavior, see the cases of Erin

   Young v. AT&T Mobility, LLC, Case No. 2019-2027-SP-26, EFiling#87601121 or

   Tamara Crespo v. AT&T Mobility, LLC, Case No. 2019-2026-SP26, E-Filing#87600869

   both of which alleged AT&T’s violation of FDUTPA for illegal data throttling and bogus

   administrative fee, is further evidence of AT&T Mobility, LLC’s illegal, immoral and

   unethical conduct toward consumers.

                        COUNT I - NEGLIGENCE FOR DATA BREACH

16. Plaintiff re-alleges, restates, and incorporates the allegations contained in paragraphs

   one (1) through fifteen (15) as fully set forth herein.

17. AT&T learned that a well-known threat actor claimed to be selling a database containing

   the personal information of over 70 million AT&T customers. This information

   included customers’ names, addresses, phone numbers, Social Security numbers, and

   dates of birth. But instead of investigating the source and cause of the massive breach,

   AT&T denied the allegations, ignored the issue, and continued with operations. AT&T

   told one media outlet that “the information that appeared in an internet chat room does

   not appear to have come from our systems.” And when questioned about its vendors,

   AT&T chose not to speculate: “Given this information did not come from us, we can't

   speculate on where it came from or whether it is valid.” AT&T attempted to fully wash its

   hands of the disaster.

18. The same customer data is no longer just for sale; it has been fully exposed on the Dark

   Web. And after years of denial, AT&T has changed its tune. AT&T finally admitted that


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  approximately 73 million former and current AT&T customers’ personal and sensitive

  information was released onto the Dark Web (the “Data Breach”), including Plaintiff’s

  information.

19. According to AT&T, customers’ impacted information included a combination of their

   “full name, email address, mailing address, phone number, social security number,

   date of birth, and AT&T account number and passcode” (collectively, “PII”), which

   AT&T collected as a condition for use of its services. This recent revelation marks a

   concerning turn of events.

20. Equally troubling is that AT&T still appears clueless as to the source of the breach. One

   would hope that – in nearly three years – a telecom giant like AT&T would have

   conducted a “robust investigation” into the data leak to determine who was

   responsible, where the data originated from, which customers were impacted, how

   the Data Breach occurred, and other key factors. But it did not. Had it done so, the 73

   million customers could have attempted to adequately protect themselves. Instead,

   AT&T remained willfully blind.

21. This Data Breach and resulting injuries occurred because AT&T failed to implement

   reasonable security procedures and practices (including failing to exercise

   appropriate managerial control over third-party partner’s data security), failed to

   disclose material facts surround its deficient data security protocols, and failed to

   timely notify the victims of the Data Breach.

22. In connection with providing its wireless services, AT&T required Plaintiff to provide

   personal information, including but not limited to names, addresses, Social Security

   numbers, and dates of birth.

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 23. Given the amount and sensitive nature of the data it collects, AT&T maintains policies

    explaining its privacy practices handling consumers’ personal information. Through

    these policies, AT&T represents to consumers and the public that it possesses robust

    security features to protect PII and it they their responsibility to protect PII seriously.

 24. Given AT&T’s avowed experience in its field handling highly sensitive information, it

    understood the need to protect consumers’ PII and prioritize data security.

 25. AT&T admitted that its data security was breached and acknowledged the legitimacy

    of the leaked customer data:

        AT&T has determined that AT&T data-specific fields were contained in a
          data set released on the dark web approximately two weeks ago. While
          AT&T has made this determination, it is not yet known whether the data
          in those fields originated from AT&T or one of its vendors. With respect
          to the balance of the data set, which includes personal information such
          as social security numbers, the source of the data is still being
          assessed.

        AT&T has launched a robust investigation supported by internal and
          external cybersecurity experts. Based on our preliminary analysis, the
          data set appears to be from 2019 or earlier, impacting approximately
          7.6 million current AT&T account holders and approximately 65.4 million
          former account holders.

        Currently, AT&T does not have evidence of unauthorized access to its
           systems resulting in exfiltration of the data set. The company is
           communicating proactively with those impacted and will be offering
           credit monitoring at our expense where applicable. We encourage
           current   and    former    customers    with    questions to  visit
           www.att.com/accountsafety for more information.

        As of today, this incident has not had a material impact on AT&T’s
           operations.


26. AT&T had a duty to protect Plaintiff’s private information and has breached that duty.

27. But AT&T, like any company of its size that stores massive amounts of sensitive PII,


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  should have had robust protections in place to detect and terminate a successful

  intrusion long before access and exposure of customer data. AT&T also should have

  exercised appropriate managerial control over their third-party partners’ data security

  when it knew these partners stored its customers’ PII in the course of carry out the

  business of their partnership. AT&T’s failure to prevent the breach is inexcusable given

  its knowledge that it and its affiliates are prime targets for cyberattacks.

28. In 2022, the National Security Agency (NSA), the Cybersecurity and Infrastructure

   Security Agency (CISA), and the Federal Bureau of Investigation (FBI) co-authored

   the joint Cybersecurity Advisory explicitly highlighting [t]elecommunications and

   network service provider targeting” by cyber actors. The Advisory explains how cyber

   actors exploit and access telecommunication organizations and network service

   providers though the use of open-source tools “that allows for the scanning of IP

   addresses for vulnerabilities.” Once these cyber actors gain an initial foothold, they

   identify “critical users and infrastructure including systems critical to maintaining the

   security of authentication, authorization, and accounting.”

29. Thus, whether the data breach occurred through AT&T’s own systems or its third-

   party vendors, AT&T was responsible for the protection of Plaintiff’s PII.

30. And AT&T recognized these risks in its own regulatory filings with the SEC.

31. If not through its own history, AT&T surely understood the risk from its competitors.

   Considering recent high profile data breaches at other telecommunications

   companies, such as Xfinity (36,000,000 impacted, announced December 2023); T-

   Mobile (37,000,000 impacted, announced January 2023); and US-Cellular (52,000

   impacted, announced March 2023), among others, AT&T knew or should have known


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   that its data and consumers’ PII would be, or had already been, targeted by

   cybercriminals.

32. To prevent unauthorized access, CISA encourages organizations to:

                Conduct    regular   vulnerability   scanning    to identify    and

                 address vulnerabilities, particularly on internet-facing devices;

                Regularly patch and update software to latest available versions,

                 prioritizing timely patching of internet-facing servers and software

                 processing internet data;

                Ensure devices are properly configured and that security features are

                 enabled;

                Employ best practices for use of Remote Desktop Protocol (RDP) as

                 threat actors often gain initial access to a network through exposed and

                 poorly secured remote services; and

                Disable operating system network file sharing protocol known as Server

                 Message Block (SMB) which is used by threat actors to travel through a

                 network to spread malware or access sensitive data.

  33. The CISA guidance further recommends use of a centrally managed antivirus

     software utilizing automatic updates that will protect all devices connected to a

     network (as opposed to requiring separate software on each individual device), as

     well as implementing a real-time intrusion detection system that will detect

     potentially malicious network activity that occurs prior to ransomware deployment.

  34. Consequently, AT&T knew of the importance of safeguarding PII and of the

     foreseeable consequences that would occur if their data security system was


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   breached, including the significant costs that would be imposed on customers as a

   result of a breach.

35. But despite all of the publicly available knowledge of the continued compromises of

   PII and despite holding the PII of millions of customers, AT&T failed to use

   reasonable care in maintaining the privacy and security of the PII of Plaintiff.

36. Had AT&T implemented industry standard security measures, adequately invested in

   data security, and promptly investigated cybersecurity issues, unauthorized parties

   likely would not have been able to access AT&T’s or its third- party vendors’ systems

   and the Data Breach would have been prevented or much smaller in scope.

37. The PII of consumers, including Plaintiff, remains of high value to criminals, as

   evidenced by the continued sale and trade of such information on underground

   markets found on the “dark web”— which is a part of the internet that is intentionally

   hidden and inaccessible through standard web browsers

38. Data sets that include PII demand a much higher price on the black market. For

   example, the information likely exposed in the Data Breach is significantly more

   valuable than the loss of, for example, credit card information in a retailer data

   breach, where victims can easily cancel or close credit and debit card accounts.25

   The information likely disclosed in this Data Breach is impossible to “close” and

   difficult, if not impossible, to change (such as Social Security numbers).

39. There is also an active and robust legitimate market for PII. In 2021, the data

   brokering industry alone was valued at $319 billion. In fact, the data marketplace is

   so sophisticated that consumers can actually sell their non-public information directly

   to a data broker who in turn aggregates the information and provides it to marketers


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   or app developers. Consumers who agree to provide their web browsing history to

   the Nielsen Corporation can receive up to $50.00 a year.

40. Because their PII has independent value, Plaintiff must take measures to protect it

   including by, as AT&T’s online notice instructs, placing “alerts” with credit reporting

   agencies, changing passcodes, and reviewing and monitoring credit reports and

   accounts for unauthorized activity, which may take years to discover and detect.

41. In connection with obtaining AT&T’s services, Plaintiff was required to provide highly

   sensitive personal information, such as his contact information, date of birth, Social

   Security number, and so on. AT&T also prompted Plaintiff to create login credentials

   to access his accounts.

42. In the regular course of business, AT&T shared Plaintiff’s information with several

   third-party partners whom AT&T was obligated to verify their data security practices

   because those third parties stored the information AT&T collected.

43. Plaintiff has confirmed that it was a victim of the Data Breach.

44. Because AT&T continues to store and share PII in the regular course of its business,

   Plaintiff has a continuing interest in ensuring that the PII is protected and safeguarded

   from additional authorized access.

45. Federal agencies have issued recommendations and guidelines to help minimize the

   risks of a data breach for businesses holding sensitive data. For example, the

   Federal Trade Commission (FTC) has issued numerous guides for businesses

   highlighting the importance of reasonable data security practices, which should be

   factored into all business-related decision making.

46. The FTC’s publication Protecting Personal Information: A Guide for Business sets


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   forth fundamental data security principles and practices for businesses to implement

   and follow as a means to protect sensitive data.

47. Among other things, the guidelines note that businesses should (a) protect the

   customer information that they collect and store; (b) properly dispose of personal

   information that is no longer needed; (c) encrypt information stored on their

   computer networks; (d) understand their network’s vulnerabilities; and (e) implement

   policies to correct security problems. The FTC guidelines further recommend that

   businesses use an intrusion detection system, monitor all incoming traffic for unusual

   activity, monitor for large amounts of data being transmitted from their system, and

   have a response plan ready in the event of a breach.

48. Additionally, the FTC recommends that organizations limit access to sensitive data,

   require complex passwords to be used on networks, use industry- tested methods

   for security; monitor for suspicious activity on the network, and verify that third-party

   service providers have implemented reasonable security measures.

49. The FTC has brought enforcement actions against businesses for failing to reasonably

   protect customer information, treating the failure to employ reasonable and

   appropriate measures to protect against unauthorized access to confidential

   consumer data as an unfair act or practice prohibited by Section 5 of the Federal

   Trade Commission Act, 15 U.S.C. § 45. Orders resulting from these actions further

   clarify the measures businesses must take to meet their data security obligations.

50. AT&T was fully aware of its obligation to implement and use reasonable measures to

   protect customers’ PII but failed to comply with these basic recommendations and

   guidelines that would have prevented this breach from occurring. AT&T’s failure to


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   employ reasonable measures to protect against unauthorized access to customer

   information constitutes an unfair act or practice prohibited by Section 5 of the FTC

   Act, 15 U.S.C. § 45.

51. Though limited detail is available on the Data Breach, how it occurred or the entity

   the information originated from, AT&T’s failure to safeguard customers’ PII suggests

   AT&T failed to fully comply with industry-standard cybersecurity practices, including,

   but not limited to, proper firewall configuration, network segmentation, secure

   credential storage, user-activity monitoring, data-loss prevention, encryption,

   intrusion detection and prevention, and exercising managerial control over third-party

   vendors’ cybersecurity practices.

52. AT&T’s failure to keep Plaintiff’s PII secure has severe ramifications. Given the

   sensitive nature of the PII stolen in the Data Breach—names, date of birth, Social

   Security numbers, and potentially other sensitive information—hackers can commit

   identity theft, financial fraud, and other identity-related fraud against Plaintiff now and

   into the indefinite future

53. As a result, Plaintiff has suffered injury including as the information has already been

   published to the Dark Web available for any cybercriminal to misuse.

54. As discussed above, the PII likely exposed in the Data Breach is highly coveted and

   valuable on underground markets as it can be used to commit identity theft and

   fraud. Malicious actors use PII to, among other things, gain access to consumers’

   bank accounts, social media, and credit cards. Malicious actors can also use PII to

   open new financial accounts, open new utility accounts, obtain medical treatment

   using victims’ health insurance, file fraudulent tax returns, obtain government


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   benefits, obtain government IDs, or create “synthetic identities.

55. Further, malicious actors may wait months or years to use the PII obtained in data

   breaches, as victims often become complacent and less diligent in monitoring their

   accounts after a significant period has passed. These actors will also re-use stolen

   PII, meaning individuals can be the victims of several cybercrimes stemming from a

   single data breach.

56. Even in instances where an individual is reimbursed for a financial loss due to identity

   theft or fraud, that does not make that individual whole again as there is typically

   significant time and effort associated with seeking reimbursement. According to the

   Government Accountability Office, which conducted a study regarding data

   breaches: “law enforcement officials told us that in some cases, stolen data may be

   held for up to a year or more before being used to commit identity theft. Further, once

   stolen data has been sold or posted on the Web, fraudulent use of that information

   may continue for years. As a result, studies that attempt to measure the harm

   resulting from data breaches cannot necessarily rule out all future harm. The

   unauthorized disclosure of the sensitive PII to data thieves also reduces its inherent

   value to its owner, which has been recognized by courts as an independent form of

   harm.

57. Consumers are injured every time their data is stolen and traded on underground

   markets, even if they have been victims of previous data breaches. Indeed, the dark

   web is comprised of multiple discrete repositories of stolen information that can be

   aggregated together or accessed by different criminal actors who intend to use it for

   different fraudulent purposes. Each data breach increases the likelihood that a


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   victim’s personal information will be exposed to more individuals who are seeking to

   misuse it at the victim’s expense. And here, Plaintiff’s PII is already available to

   criminal actors on the dark web.

58. As the result of the wide variety of injuries that can be traced to the Data Breach,

   Plaintiff has and will continue to suffer harm for which it is entitled to damages,

   including, but not limited to, the following the unconsented disclosure of confidential

   information to a third party;

          losing the value of the explicit and implicit promises of data security;
          identity theft and fraud resulting from the theft of their PII;
          costs associated with the detection and prevention of identity theft and
           unauthorized use of their financial accounts;
          costs associated with purchasing credit monitoring, credit freezes, and
           identity theft protection services;
          unauthorized charges and loss of use of and access to their financial and
           investment account funds and costs associated with inability to obtain money
           from their accounts or being limited in the amount of money they were
           permitted to obtain from their accounts, including missed payments on bills
           and loans, late charges and fees, and adverse effects on their credit;
          lowered credit scores resulting from credit inquiries following fraudulent
           activities;
          costs associated with time spent and the loss of productivity or the enjoyment
           of one’s life from taking time to address and attempt to mitigate and address
           the actual and future consequences of the Data Breach, including searching
           for fraudulent activity, imposing withdrawal and purchase limits on
           compromised accounts, and the stress, nuisance, and annoyance of dealing
           with the repercussions of the Data Breach; and
          the continued, imminent, and certainly impending injury flowing from potential
           fraud and identify theft posed by their PII being in the possession of one or
           many unauthorized third parties.

59. Plaintiff has a direct interest in AT&T’s promises and duties to protect its PII, i.e., that

   AT&T not increase their risk of identity theft and fraud. Because AT&T failed to live up

   to its promises and duties in this respect, Plaintiff seeks the present value of identity

   protection services to compensate them for the present harm and present and

   continuing increased risk of harm caused by AT&T’s wrongful conduct.

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60. Through this remedy, Plaintiff seeks to restore close to the same position as they

   would have occupied but for AT&T’s wrongful conduct, namely their failure to

   adequately protect the information. Plaintiff further seeks to recover the value of the

   unauthorized access to their PII permitted through AT&T’s wrongful conduct. This

   measure of damages is analogous to the remedies for unauthorized use of intellectual

   property. Like a technology covered by a trade secret or patent, use or access to a

   person’s PII is non-rivalrous—the unauthorized use by another does not diminish the

   rights-holder’s ability to practice the patented invention or use the trade-secret

   protected technology.

61. Nevertheless, a plaintiff may generally recover the reasonable use value of the IP—

   i.e., a “reasonable royalty” from an infringer. This is true even though the infringer’s

   use did not interfere with the owner’s own use (as in the case of a non- practicing

   patentee) and even though the owner would not have otherwise licensed such IP to

   the infringer. A similar royalty or license measure of damages is appropriate here

   under common law damages principles authorizing recovery of rental or use value.

   This measure is appropriate because (a) Plaintiff has a protectible property interest

   in their PII; (b) the minimum damages measure for the unauthorized use of personal

   property is its rental value; and (c) rental value is established with reference to

   market value, i.e., evidence regarding the value of similar transactions.

62. Defendant AT&T required Plaintiff’s PII as a condition to receiving AT&T’s services.

   AT&T collected and stored this PII for commercial gain. AT&T collected, stored, and

   through its partnership with third- party vendors, shared the data with these vendors

   for providing AT&T’s services as well as commercial gain.


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63. AT&T owed a duty of care to Plaintiff to provide adequate data security, consistent

   with industry standards, to ensure that AT&T’s and its vendors’ systems and

   networks adequately protected the PII

64. AT&T owed a duty of care to Plaintiff so as to alleviate the risk of compromising

   Plaintiff’s PII.

65. AT&T duty to use reasonable care in protecting PII arises because of the parties’

   relationship, as well as common law and federal law, including the FTC regulations

   described above and AT&T’s own policies and promises regarding privacy and data

   security.

66. AT&T knew, or should have known, of the risks inherent in collecting and storing PII

   in a centralized location for the purpose of carrying out the business of the

   partnership, its vendors’ vulnerability to network attacks, and the importance of

   adequate security.

67. AT&T breached its duty to Plaintiff in numerous ways, as described herein, including

   by:

     Failing to exercise reasonable care and implement adequate security systems,
         protocols, and practices sufficient to protect the PII of Plaintiff;

     Failing to ensure its vendors implemented adequate security systems,
         protocols, and practices sufficient to protect the PII of Plaintiff;

     Failing to supervise its vendors regarding vendors’ data security systems,
         protocols, and practices when it knew or should have known those systems,

         protocols, and practices were inadequate;

     Failing to comply with industry standard data security measures for the

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        telecommunications industry leading up to the Data Breach;

     Failing to comply with its own privacy policies;

     Failing to comply with regulations protecting the PII at issue during the period of
        the Data Breach;

     Failing to adequately monitor, evaluate, and ensure the security of their
        vendors’ network and systems;

     Failing to recognize in a timely manner that PII had been compromised; and

     Failing to timely and adequately disclose the Data Breach.
68. Plaintiff’s PII would not have been compromised but for AT&T’s wrongful and

   negligent breach of its duties

69. AT&T’s failure to take proper security measures to protect the sensitive PII of Plaintiff

   as described herein, created conditions conducive to a foreseeable, intentional

   criminal act, namely the unauthorized access, copying, and exfiltrating of PII by

   unauthorized third parties. Given that telecommunications businesses are prime

   targets for hackers, of having its PII misused or disclosed if not adequately protected

   by AT&T.

70. It was also foreseeable that AT&T’s failure to provide timely and forthright notice of

   the Data Breach would result in injury to Plaintiff.

71. As a direct and proximate result of AT&T’s conduct, Plaintiff has suffered damages

   including: (i) the loss of rental or use value of their PII; (ii) the unconsented

   disclosure of their PII to unauthorized third parties; (iii) out-of-pocket expenses

   associated with the prevention, detection, and recovery from identity theft, fraud,

   and/or unauthorized use of their PII; (iv) lost opportunity costs associated with

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   addressing and attempting to mitigate the actual and future consequences of the

   Data Breach, including, but not limited to, efforts spent researching how to prevent,

   detect, contest, and recover from fraud and identity theft; (v) potential time, effort,

   and expense associated with placing fraud alerts or freezes on credit reports; (vi)

   the continued risk to their PII, which remains in AT&T’s possession and is subject to

   further unauthorized disclosures so long as AT&T fails to undertake appropriate

   and adequate measures to protect it; (vii) future costs in terms of time, effort and

   money that will be expended to prevent, detect, contest, and repair the inevitable and

   continuing consequences of compromised PII for the rest of their lives; and (viii) any

   nominal damages that may be awarded.

      WHEREFORE, Plaintiff respectfully requests that this Court grant judgment in its

favor and against AT&T and any other relief the Court deems just and proper including

attorney’s fees and costs.

              COUNT II-VIOLATION OF FDUTPA FOR DATA BREACH

72. Plaintiff re-alleges, restates, and incorporates the allegations contained in

   paragraphs one (1) through seventy-one (71) as fully set forth herein.

73. Defendant engaged in unfair or deceptive acts or practices in the conduct of

   consumer transactions in violation of FDUTPA, including but not limited to:

           a. Representing that its services were of a particular standard or quality

              that it knew or should have known were of another;

           b. Failing to implement and maintain reasonable security and privacy

              measures to protect Plaintiff’s Sensitive Information, which was a direct

              and proximate cause of the Data Breach;


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           c. Failing to identify foreseeable security and privacy risks, and remediate

              identified security and privacy risks, which was a direct and proximate

              cause of the Data Breach;

           d. Failing to comply with common law and statutory duties pertaining to the

              security and privacy of Plaintiff’s Sensitive Information, including duties

              imposed by the FTCA, 15 U.S.C. § 45, which was a direct and proximate

              cause of the Cyber-Attack and data breach;

           e. Misrepresenting that it would protect the privacy and confidentiality of

              Plaintiff’s Sensitive   Information,   including    by   implementing     and

              maintaining reasonable security measures;

           f. Omitting, suppressing, and concealing the material fact that it did

              not reasonably or adequately secure Plaintiff’s Sensitive Information;

              and

           g. Omitting, suppressing, and concealing the material fact that it did not

              comply with common law and statutory duties pertaining to the security

              and privacy of Plaintiff’s Personal Information, including duties imposed

              by the FTCA, 15 U.S.C. § 45, which was a direct and proximate cause

              of the Data Breach.

74. Defendant’s representations and omissions were material because it was likely to

   deceive reasonable consumers about the adequacy of Defendant’s data security

   and ability to protect the confidentiality of consumers’ Sensitive Information.

75. In addition, Defendant’s failure to secure consumers’ PHI violated the FTCA and

   therefore violated FDUTPA.


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76. Defendant knew or should have known that its computer systems and data security

   practices were inadequate to safeguard the Sensitive Information of Plaintiff, deter

   hackers, and detect a breach within a reasonable time, and that the risk of a data

   breach was highly likely.

77. The aforesaid conduct constitutes a violation of FDUTPA, Fla. Stat. § 501.204, in

   that it is a restraint on trade or commerce and was furthermore unconscionable,

   unfair and deceptive.

78. Defendant’s implied and express representations that it would adequately safeguard

   Plaintiff’s Sensitive Information constitute representations as to characteristics, uses

   or benefits of services that such services did not actually have, in violation of Fla.

   Stat. § 501.202(2).

79. Most, if not all, of the alleged misrepresentations and omissions by AT&T

   complained of herein that led to inadequate safety measures to protect patient

   information occurred within or were approved within Florida.

80. AT&T’s representations that it would adequately safeguard Plaintiff’s Sensitive

   Information constitute representations as to the particular standard, quality, or grade

   of services that such services did not actually have (as the data security services were

   of another, inferior quality), in violation of Fla. Stat. § 501.204(1)..

81. AT&T knowingly made false or misleading statements in its privacy policy regarding

   the use of personal information submitted by members of the public in that

   Defendant claims that it is committed to protecting privacy and securely maintaining

   personal information. Defendant did not securely maintain the personal information

   as represented, in violation of Fla. Stat. § 501.171.


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82. These violations have caused actual damages to Plaintiff

83. Plaintiff, brings this action under the Deceptive and Unfair Trade Practices Act to

   seek such her actual damages incurred for violations and to recover costs of this

   action, including reasonable attorneys’ fees and costs.

       WHEREFORE, Plaintiff respectfully requests that this Court grant judgment in its

favor and against AT&T for damages, interest, court costs, attorney’s fees, and any

other relief the Court deems just and proper.

  COUNT III - BREACH OF IMPLIED DUTY OF GOOD FAITH AND FAIR DEALING

84. Plaintiff re-alleges, restates and incorporates the allegations contained in

   paragraphs one (1) through seventy-one (71) above, and further alleges as follows:

85. Plaintiff had a wireless agreement with AT&T wherein Plaintiff had a reasonable

expectation of performance of the agreement by AT&T to keep Plaintiff’s PII safe

86. As part of these transactions, AT&T agreed to safeguard and protect the PII of

   Plaintiff. Implicit in these transactions between AT&T and Plaintiff was the

   obligation that AT&T would use the PII for approved business purposes only and

   would not make unauthorized disclosures of the information or allow unauthorized

   access to the information.

87. Additionally, AT&T implicitly promised to retain this PII only under conditions that

   kept such information secure and confidential and therefore had a duty to

   reasonably safeguard and protect the PII of Plaintiff from unauthorized disclosure or

   access.

88. Plaintiff had a   reasonable expectation that AT&T’s data security practices and

   policies, including adequate managerial supervision of vendors’ data security, were


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   reasonable and consistent with industry standards believed that AT&T would use

   part of the monies paid to AT&T to fund adequate and reasonable data security

   practices to protect their PII.

89. . The safeguarding of Plaintiff’s PII was critical to realizing the intent of the parties.

90. AT&T breached its implied contract with Plaintiff by failing to reasonably safeguard

   and protect Plaintiff’s PII, which was compromised as a result of the Data Breach.

91. As a direct and proximate result of AT&T’s breaches, Plaintiff sustained actual losses

   and damages as alleged herein, including that they did not receive the benefits of the

   bargains for which they paid.        Alternatively, Plaintiff seeks an award of nominal

   damages.

92. AT&T has breached the express terms of the wireless agreement.

93. As a result of AT&T’s breach of implied covenant of good faith and fair dealing,

   Plaintiff has been damaged.

   WHEREFORE, Plaintiff respectfully requests that this Court grant judgment in its

   favor and against AT&T for compensatory damages, nominal damages, interest,

   court costs, and any other relief the Court deems just and proper.

 COUNT IV – ACTION FOR DECLARATORY RELIEF AND/OR INJUNCTIVE RELIEF
                    UNDER FDUTPA – DATA BREACH

94. Plaintiff re-alleges, restates, and incorporates the allegations contained in

   paragraphs one (1) through seventy (70), above, and further alleges as follows:

95. Under the FDUTPA, without regard to any other remedy or relief to which a person is

   entitled, anyone aggrieved by a violation of this part may bring an action to obtain a

   declaratory judgment that an act or practice violates this part and to enjoin a person

   who has violated, is violating, or is otherwise likely to violate 501.201 et. seq. See

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   Fla. Stat. §501.211(1). Plaintiff is an aggrieved consumer whose rights have been,

   are being, or will be adversely affected, by AT&T MOBILITY, LLC.’s violation of

   FDUTPA--meaning an unfair or deceptive practice which is injurious to consumers,

   including Plaintiff.

96. Pursuant to AT&T MOBILITY, LLC’s above-described acts or practices of placing a

   improperly safeguarding Plaintiff’s account, AT&T MOBILITY, LLC violated the

   FDUTPA.

97. Plaintiff seeks a declaratory judgment that AT&T MOBILITY, LLC’s acts or practices

   have violated the FDUTPA.

98. Plaintiff seeks to determine whether the FDUTPA prohibits AT&T MOBILITY, LLC

   from continuing to allow Plaintiff’s PII to be distributed and left unsafeguarded in the

   future.

99. There is a bona fide dispute between the parties. Plaintiff has a justiciable question

   as to the existence or non-existence of some right, status, immunity, power, or

   privilege, or some fact upon which their claim may depend.

100.   here is a bona fide, actual, and present need for the declaration.

101.   Plaintiff has retained the undersigned to represent it in this action and pay a

   reasonable fee for said legal services.

       WHEREFORE, Plaintiff respectfully requests that this Court grant declaratory

judgment and/or injunctive relief in its favor and against AT&T MOBILITY, LLC, court

costs, attorney’s fees pursuant to Section 501.2105, Florida Statutes, and any other

relief the Court deems just and proper.




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                               CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that a true and correct copy of the foregoing was served

via e-mail this this this January 17, 2025 to: all counsel of record.

                                    Beighley, Myrick, Udell, Lynne & Zeichman PA
                                    Attorneys for Plaintiff
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